Case 0:17-cv-61479-RLR Document 44 Entered on FLSD Docket 04/12/2018 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 0:17-CV-61479-ROSENBERG/SELTZER
DONNA AMELKIN,
        Plaintiff,
v.
SCOTT J. ISRAEL,
      Defendant.
______________________________________/

               ORDER STAYING CASE AND DIRECTING THE CLERK
         OF THE COURT TO CLOSE THIS CASE FOR STATISTICAL PURPOSES

        THIS CAUSE came before the Court upon the Mediation Disposition Report [DE 43]
indicating that this case has been settled in full. In light of the parties’ settlement of this matter, it is
hereby ORDERED AND ADJUDGED as follows:

        1.      This case is STAYED.

        2.      All hearings are CANCELLED and all pending deadlines are TERMINATED.

        3.      The parties are instructed to file any appropriate papers related to the dismissal of this
                action within thirty (30) days of the date of rendition of this Order.

        4.      Any party may move for the stay imposed by this Order to be lifted or for an
                extension of time to file appropriate papers related to the dismissal of this action.

        5.      All pending motions are DENIED AS MOOT.

        6.      The Clerk of the Court is directed to CLOSE THIS CASE FOR STATISTICAL
                PURPOSES. This closure shall not affect the merits of any party’s claim.

        DONE and ORDERED in Chambers, West Palm Beach, Florida, this 11th day of April,
2018.



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        Copies furnished to:                            ROBIN L. ROSENBERG
        Counsel of record                               UNITED STATES DISTRICT JUDGE
